Case 4:21-cv-00270 Document 235 Filed on 08/09/23 in TXSD Page 1 of 3

Gnited States Court of Appeals
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FILED FILED
August 09, 2023 May 23, 2023
Nathan Ochsner, Clerk of Court No. 22-20279 Lyle W. Cayce
CONSOLIDATED WITH Clerk
No. 23-20013

CLIFFORD F. TUTTLE, JR., as. Representative of THE ESTATE OF
DENNIS W. TUTTLE, Deceased; ROBERT TUTTLE; RYAN TUTTLE;
Jo ANN NICHOLAS; JOHN NICHOLAS,
Plaintiffs —Appellees,
VETSUS
ERIC SEPOLIO; MANUEL SALAZAR; THOMAS WOOD; OSCAR
PARDO; FRANK MEDINA; CLEMENTE REYNA; CEDELL LOVINGS;

NADEEM ASHRAF; MARSHA TODD; ROBERT GONZALES,

Defendants—Appellants.

Appeals from the United States District Court
for the Southern District of Texas
USDC No. 4:21-CV-270
USDC No. 4:21-CV-272

Before RICHMAN, Chief Judge, and ELROD and OLDHAM, Circuit
Judges.

JUDGMENT

This cause was considered on the record on appeal and was argued by
counsel.
Case 4:21-cv-00270 Document 235 Filed on 08/09/23 in TXSD Page 2 of 3

No. 22-20279
c/w No. 23-20013

IT IS ORDERED and ADJUDGED that the judgment of the
District Court is AFFIRMED IN PART, REVERSED IN PART,
VACATED IN PART and is REMANDED to the District Court for
further proceedings in accordance with the opinion of this Court.

IT IS FURTHER ORDERED that each party bear its own costs

on appeal.

Certified as a true copy and issued
as the mandate on Aug 09, 2023

Attest: qj

Clerk, U.S, uf W rt of £ Sten Circuit
Case 4:21-cv-00270 Document 235 Filed on 08/09/23 in TXSD Page 3 of 3

United States Court of Appeals

FIFTH CIRCUIT
OFFICE OF THE CLERK

LYLE W. CAYCE TEL. 504-310-7700
CLERK 600 S. MAESTRI PLACE,
Suite 115
NEW ORLEANS, LA 70130

August 09, 2023

Mr. Nathan Ochsner

Southern District of Texas, Houston
United States District Court

515 Rusk Street

Room 5300

Houston, TX 77002

No. 22-20279, Consolidated with 23-20013
Tuttle v. Sepolio
USDC No. 4:21-CV-270
USDC No. 4:21-CV-272

Dear Mr. Ochsner,

Enclosed is a copy of the judgment issued as the mandate and a
copy of the court’s opinion.

Sincerely,

LYLE W. CAYCE, Clerk
Llarbaell fram

By:
Dantrell L. Johnson, Deputy Clerk
504-310-7689

cc:
Mr. Jeffrey I. Avery
Ms. Melissa Azadeh
Ms. Margaret Ewing Johnson Bryant
Mr. Michael Timothy Gallagher
Mr. Robert William Higgason
Ms. Christy Lynn Martin
